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12   Plaintiffs and the Proposed Class

13   [Additional Counsel Listed on Signature Page]

14                                 UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
16
     SARAH ANDERSEN, KELLY MCKERNAN,                    Case No. 3:23-cv-00201-WHO
17   KARLA ORTIZ, H. SOUTHWORTH PKA
18   HAWKE SOUTHWORTH, GRZEGORZ
     RUTKOWSKI, GREGORY MANCHESS,                       DECLARATION OF CHRISTOPHER K.L.
19   GERALD BROM, JINGNA ZHANG, JULIA                   YOUNG IN SUPPORT OF JOINT
     KAYE, ADAM ELLIS,                                  STIPULATED REQUEST AND
20                                                      [PROPOSED] ORDER CHANGING TIME
                       Individual and Representative    FOR DEVIANTART’S MOTION TO
21                                        Plaintiffs,   RENEW ITS SPECIAL MOTION TO
22                                                      STRIKE
            v.
23
     STABILITY AI LTD., STABILITY AI, INC.,
24   DEVIANTART, INC., MIDJOURNEY, INC.,
     RUNWAY AI, INC.,
25
                 Defendants.
26
27

28

30    Case No. 3:23-cv-00201-WHO
     DECLARATION OF CHRISTOPHER K.L. YOUNG IN SUPPORT OF JOINT STIPULATED EXTENSION OF TIME TO
31                         RESPOND TO MOTION TO RENEW SPECIAL MOTION TO STRIKE
             Case 3:23-cv-00201-WHO Document 137-1 Filed 12/26/23 Page 2 of 2




 1   I, Christopher K.L. Young, declare as follows:

 2           1.     I am an attorney duly licensed to practice in the State of California. I am a Partner at the

 3   Joseph Saveri Law Firm, LLP, counsel of record for Plaintiffs in the above-referenced action

 4   (“Action”). I have personal knowledge of the matters stated herein and, if called upon, I could

 5   competently testify thereto. I make this declaration pursuant to Civil Local Rule 6-2(a) in support of

 6   Plaintiffs’ Joint Stipulated Extension of Time to Respond to Defendant DeviantArt, Inc.’s

 7   (“DeviantArt”) Motion to Renew its Special Motion to Strike (“Motion”; Plaintiffs and DeviantArt

 8   together, the “Parties”).

 9           2.     At present, the briefing schedule for responses to the Motion requires Oppositions to be

10   due by January 3, 2024; Replies due by January 10, 2024; and Motion Hearing set for January 24,

11   2024.

12           3.     In light of the intervening holiday and office closures, the Parties agreed to extend dates

13   to respond by one week (seven days). Under the Parties’ revised schedule, Plaintiffs’ deadline to

14   respond to the Motion would be January 10, 2024; DeviantArt’s deadline to file a reply brief in

15   support of the Motion would be January 17, 2024. The Parties further agree to continue the hearing on

16   the motion to February 7, 2024. The Court’s calendar for that date is not yet publicly available; so in

17   the event that the Court cannot accommodate hearing on the motion that day, the Parties agree to

18   continue the hearing to the next available date convenient for the Court and the Parties.
19           4.     This is the Parties’ first request for an extension of time with respect to the Motion and

20   the requested time modification will not any material impact on the schedule for the Action.

21           I declare under penalty of perjury that the foregoing is true and correct. Executed this

22   December 26, 2023.

23                                                           /s/ Christopher K.L. Young
                                                                    Christopher K.L. Young
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      Case No. 3:23-cv-00201-WHO                   11
30    DECLARATION OF CHRISTOPHER K.L. YOUNG IN SUPPORT OF JOINT STIPULATED EXTENSION OF TIME
                         TO RESPOND TO MOTION TO RENEW SPECIAL MOTION TO STRIKE
31
